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IN THE UNITED sTATEs DISTRICT coURT - :J.¢cl
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUN__?
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WD;RCI;`&¢ *!¢_*,>- m§-,;WO
JAMES Al ) lpg F;I¢Efvl]{`H,S
)
Plaintiff, )
) 04-2054
vs . ) No . ,04»-2561' -Mav
)
MOCK, INC_, )
)
Defendant. )
ORDER

 

On June 6, 2005, the court received a letter and computer
diskette from the pro se plaintiff. It is unclear what the
plaintiff is seeking from the court. The case is set for a
pretrial conference before Judge Mays on June 17, 2005, and the
trial is set on July 5, 2005, also before Judge Mays.

The plaintiff is cautioned that it is not appropriate for a
party to initiate an §§ p§;§§ communication with a judge or
magistrate judge. Local Rule 83.5(a) provides, in pertinent
part, as follows: "A copy of all letters sent to a judge shall
also be sent to all other counsel involved in the action (or any
party acting pro se) and to the Clerk of the Court." Nothing on
the face of the plaintiff's letter indicates that a copy was sent

to defense counsel and to the Clerk. The Clerk is ORDERED to

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with Ru|e 58 and/or 79(a) FRG`P on Q ll 5 @

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file the letter, and the plaintiff is ORDERED to send defense
counsel a copy of his letter and to file a certificate of service

with the Clerk.

IT IS SO ORDERED this 7th day of June, 2005.

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DIANE K. V'ESCOVO
UNITED STATES MAGISTR.ATE JUDGE

         

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
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Honorable Samuel Mays
US DISTRICT COURT

